 Case 4:06-cr-40063-JPG         Document 346 Filed 07/23/08             Page 1 of 1     Page ID
                                          #1535



                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                               Case No. 06-cr-40063-JPG

 MERVYN T. BUTLER,

                Defendant.

                               MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Mervyn T. Butler’s Motion to Inspect

Entire Legal File in Order to Establish Burden of Proof and to Perfect his Hyde Amendment

Claim Seeking Attorney’s Fees and Costs (Doc. 332). On June 10, 2008, after a hearing, the

Court denied Butler’s motion for attorney’s fees brought pursuant to the Hyde Amendment, but

gave Butler 30 days in which to refile. Butler has not filed an amended motion for attorney’s

fees pursuant to the Hyde Amendment. As such, there is no basis for the instant motion, as it

seeks to perfect a claim not before the Court. In addition, Butler has given the Court no

indication of what he expects to find in the Government’s files, nor why he could not obtain the

information sought from his own attorney. For the foregoing reasons, the Court DENIES

Butler’s Motion (Doc. 332).


IT IS SO ORDERED.
DATED: July 23, 2008
                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             DISTRICT JUDGE
